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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 BERKLEY INSURANCE, CO., et al.,

                  Plaintiffs,

         V.                                                   Case No. I: 13-cv-0l 053 (RCL)

 FEDERAL HOUSING FINANCE AGENCY,
 et al.,

                  Defendants.


 In re Fannie Mae/ Freddie Mac Senior
 Preferred Stock Purchase Agreement Class
 Action Litigations

                                                              Case No. l:13-mc-01288 (RCL)

 This document relates to:
 ALL CASES


              FPRffl'OSEO]oRDER GRANTING DEFENDANTS' UNOPPOSED
              MOTION FOR AN ENL.ARGEMENT OF THE PAGE LIMITATION

        The Court, having considered Defendants' Unopposed Motion for an Enlargement of the

Page Limitation for Their Renewed Motion for Judgment As a Matter of Law, and for good cause,

hereby ORDERS and DECREES as follows:

        Defendants' renewed motion for judgment as a matter oflaw, to be filed on April 17, 2024,

shall not exceed fifty-five pages in length1 ..,,-.,c,. I'
                                                             lS �-
       IT IS SO ORDERED.

       This     Z.'f,c1fay of __A,,�,._,_I__, 2024.



                                                THE HONORABLE ROYCE C. LAMBERTH



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